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NVB 3001 (Rev. 12/24)

UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEVADA 4:
.
Name of Debtor: Case Number:
Meta Materials Inc. 24-50792-h1b
1. Name and address of holder of the Equity Interest ;
(the person or entity holding an Equity Interest in the ee ete OU areca
; “ anyone else has filed a proof of Am
Debtor. Referred to hereinafter as the “Interest : lati . RECEIVED
holder’): interest relating to your interest.
° . Attach copy of statement giving AND FILED
Paul Becker particulars.
1114 Weber Street East DEC 30 2024
Kitchener Ontario Canada @ Check box if you have never
N2A 1B9 received any notices from the US. BANKRUPTCY CQURT
bankruptc rt
ae PI y court or the Debtors MARY A. SCHOTT, CLERK
in this case.
Telephone Number: —
O Check box if this address
519-498-9957 differs from the address on the
envelope sent to you by the
Debtors. COURT USE ONLY
NOTE: This form SHOULD NOT be used to make a claim against the Debtor for money owed. A separate Proof of Claim
form should be used for that purpose. This form should only be used to assert an Equity Interest in the Debtor. An Equity
Interest is any right arising from any capital stock and any equity security in any of the Debtor. An equity security is defined
in the Bankruptcy Code as (a) a share in a corporation whether or not transferable or de inated stock or similar
security, (b) interest of a limited partner in a limited partnership, or (c) warrant or right other than a right to convert, to
purchase, sell, or subscribe to a share, security, or interest of a kind specified in subsection (a) or (b)herein.

Account or other number by which Interest holder identifies Debtor (last 4 | Check here if this Proof of Interest:

digits only): Cl replaces a previously filed Proof of Interest dated:
Interactive Brokers 5315 C) amends a previously filed Proof of Interest dated:
2. Name and Address of any person or entity that is the record 3. Date Equity Interest was acquired:
holder for the Equity Interest asserted in this Proof of
Interest: Paul Becker 10/29/2021 to 02/23/2022

1114 Weber Street East

Kitchener Ontario Canada N2A 1B9
Telephone Number: 519-498-9957

4, Total amount of memberinterest:_ 61 §. Certificate number(s):

6. Type of Equity Interest:
Please indicate the type of Equity Interest you hold:
@ Check this box if your Equity Interest is based on an actual member interest held in the Debtor.
O Check this box if your Equity Interest is based on anything else and describe that interest:
Description:

7. Supporting Documents: Attach copies of supporting documents, such as stock certificates, option agreements, warrants, etc.
DO NOT SEND ORIGINAL DOCUMENTS. If the documents are not available, explain. If the documents are voluminous, attach a summary.

8. Date-Stamped Copy: To receive an acknowledgement of the filing of your Proof of Interest, enclose a stamped, self-addressed envelope and
copy of this Proof of Interest.

9. Signature:
Check the appropriate box.

@ | am the interest holder. [1 am the interest holder’s authorized agent. | 1 am the trustee, or the debtor, 1 am a guarantor, surety,
(Attach copy of power of attomey, if any.) or their authorized agent. endorser, or other
(See Bankruptcy Rule 3004.) codebtor.

(see Bankruptcy Rule 3005.)

I declare under penalty of perjury that the information provided in this proof of interest is true and correct to the best of my knowledge, information, and reasonable belief.

Print Name: Paul Becker

Title: Me :
Company:__ Address and telephone number (if different from notice Mitel (eches Jal) Y 102 Y

address above): (Signature) (Date)

Telephone number: 519-498-9957 email: Pbecker@rogers.com

Penalty for presenting fraudulent claim is a fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 AND 3571
